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                 EXHIBIT A
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From:                                   Lau, Albie <alau@whitecase.com>
Sent:                                   Monday, September 16, 2013 4:06 PM
To:                                     Blaise Warren; .CRT.Nardacci, Anne; Bernstein, Debra; Kent, Matthew; llustrin@bilzin.com
Subject:                                CRT: draft stipulation re: Sharp, Dell, and Tech Data
Attachments:                            09-16-2013 draft stipulation re Sharp Dell and Tech Data.DOC


Blaise, et al.:

A draft stipulation is attached.

Certain of the defendants are planning on moving to dismiss the Sharp, Dell, and Tech Data complaints on the basis of
Illinois Brick. Recall that Judge Conti previously granted similar motions with respect to the “cost-plus” and “co-
conspirator” exceptions to Illinois Brick, while denying such motions with respect to the “ownership and control” exception.

Rather than briefing this issue, we propose resolving this issue in the attached stipulation. We could add language to the
stipulation that closely follows Judge Conti’s ruling on the issue. Everyone would preserve their appeal rights. Please let
me know what you think.

Thanks,

Albie

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